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                     UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

                                                )           COURT MINUTES – CIVIL
Donaldson Company, Inc.,                        )         BEFORE: ARTHUR J. BOYLAN
                                                )        U.S. CHIEF MAGISTRATE JUDGE
                         Plaintiff(s),          )
                                                )   Case No:           cv 09-1049 PJS/AJB
v.                                              )   Date:              2/1/12
                                                )   Courthouse:        Minneapolis
Baldwin Filters, Inc.,                          )   Chambers:          9E
                                                )   Time Commenced:    10:00 a.m.
                         Defendant(s).          )   Time Concluded:    10:30 p.m.
                                                )   Time in Court:     30 Minutes
                                                )



Hearing on: SETTLEMENT                   CONFERENCE
APPEARANCES:

       Plaintiff:        Theodore M. Budd, Kevin P. Wagner

       Defendant:        Lora M. Friedemann, Ann Marie T. Wahls, Mark A. Pals

PROCEEDINGS:

       /       Settlement reached.




Other Remarks:




                                                                           s/ KAT
                                                                          Judicial Assistant
